Case 2:22-bk-11051-VZ   Doc 36 Filed 08/17/22 Entered 08/17/22 08:52:18   Desc
                         Main Document    Page 1 of 4
Case 2:22-bk-11051-VZ   Doc 36 Filed 08/17/22 Entered 08/17/22 08:52:18   Desc
                         Main Document    Page 2 of 4
Case 2:22-bk-11051-VZ   Doc 36 Filed 08/17/22 Entered 08/17/22 08:52:18   Desc
                         Main Document    Page 3 of 4
Case 2:22-bk-11051-VZ   Doc 36 Filed 08/17/22 Entered 08/17/22 08:52:18   Desc
                         Main Document    Page 4 of 4
